CéSe: 2212-CV-OOJ_91-|\/|P|\/|-.]|\/|V DOC #Z 6 Filed: 01/28/13 l Of 2 Page|D #Z 24

AO 440 (Rev. 06/ 12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Mississippi

 

 

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)
Plaintif(s) ) _`
v. § Civil Action No. @‘/Z'»m/' ./7/»%%/”-\{//'] V

CARLOS NlEVES-GARCIA and ) - ‘
UNlTED STATES OF AMER|CA )
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

TO£ (Defendant ’s name and address) CarlOS NieVeS-GérCia
7197 Ma|lard Creek
Hom Lake, MS 38637

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Kristy L. Bennett

John Michael Bailey PC

5978 Knight Arnold Rd., Suite 400
Memphis, TN 38115

(901) 529-1111

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

Davizi Cr<=ws, C!erk of Court

cLERK c)F C R,I’j_'

14ng 512 %//>
Date: ~\\ M
\\ 7 Signa/ure of Clerk/ or Deputy Clerk

CaSe: 2212-CV-OOJ_91-|\/|P|\/|-.]|\/|V DOC #Z 6 Filed: 01/28/13 2 Of 2 Page|D #Z 25

50 440 (li`ev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS Suml’nO!’lS fOI` (name of individual and title, if any)

 

was received by me on (daze)

Cl I personally served the summons on the individual at (place)

 

on (daze) ' ; or

 

l'_'l I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

 

CI I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name ofarganization)

on (date) ; or

. 6 l: ';Or

 

11 returned the summons unexecute

ij Othel` (specijj):

 

My fees are $ for travel and $ for services, for a total of $ 0_00 .

I declare under penalty of perjury that this information is true.

11 laln/ ////méj//l~§/oe&v 7

Server' signature

//%)@,~/< l/Ml`n,qq V/p_j

Prin!/d name and title

TRI-STATE SUBPOBNA SBRV[CB
2918 DAROLYN STRBBT

Server 's address

Additional information regarding attempted service, etc:

